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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

INTERNATIONAL PAINTERS AND ALLIED
TRADES INDUSTRY PENSION FUND,
TIM D. MAITLAND, in his official capacity as a fiduciary,
FINISHING TRADES INSTITUTE,
fik/a INTERNATIONAL UNION OF PAINTERS AND
ALLIED TRADES JOINT APPRENTICESHIP AND
TRAINING FUND,
POLITICAL ACTION TOGETHER FUND,
PAINTERS AND ALLIED TRADES LABOR
MANAGEMENT COOPERATION INITIATIVE
7234 Parkway Drive
Hanover, MD 21076

Plaintiffs, No. 19-cv-02368

Vv.

HOSEK CONTRACTORS, INC.
d/b/a EASTERN PAINTING COMPANY
d/b/a EASTERN PAINTING CO.

339 West Jefferson Street

Syracuse, NY 13202

and
FRANCIS L. HOSEK,
a/k/a FRANK L. HOSEK.

165 de Palma Avenue
Syracuse, NY 13204

Defendants.

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JUDGMENT BY CONFESSION
Upon consideration of the Complaint in Confession of Judgment filed by International Painters
and Allied Trades Industry Pension Fund, et al. (“Plaintiffs”) against Hosek Contractors, Inc., d/b/a

Eastern Painting Company, d/b/a Eastern Painting Co, (“Company”) and Francis L. Hosek (“Hosek”),

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along with the supporting exhibits and affidavits, the Court, having determined the aforesaid documents
prima facie establish

(1) a voluntary, knowing and intelligent waiver by the Defendants of the right to notice and a
prejudgment hearing on the merits of the Plaintiffs’ claims; and

(2) a meritorious claim of the Plaintiffs for the balances remaining under the Note, including
interest, as provided in the Settlement Agreement,

it is this rt day of ae 9:

ORDERED that judgment by confession be entered in favor of Plaintiffs, and against Defendants
Hosek Contractors, Inc., d/b/a Eastern Painting Company, d/b/a Eastern Painting Co., and Francis L.
Hosek, in the sum of $152,315.87, which includes the total debt under the Note, minus payment
received, plus additional interest as itemized in the Complaint, along with additional interest to accrue at
the post judgment rate from the date of the judgment until paid.

The Clerk is directed to issue the appropriate notice to the Defendants.

BY THE COURT:

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GEORGE L. RUS Hl
United States District Judg

 

       

A. David C

ite
United States Magistrate Judge

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